          Case 1:19-vv-00714-UNJ Document 35 Filed 10/05/20 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0714V
                                        UNPUBLISHED


    HELEN LEONARD,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: September 3, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria
                                                            acellular Pertussis (Tdap) Vaccine;
                       Respondent.                          Shoulder Injury Related to Vaccine
                                                            Administration (SIRVA)


Michael G. McLaren, Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN, for
Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On May 15, 2019, Helen Leonard filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) Table injury as a result of a Tdap vaccination she received on
February 22, 2018. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On September 3, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-00714-UNJ Document 35 Filed 10/05/20 Page 2 of 2




1. Specifically, Respondent states that Petitioner’s medical course is consistent with
SIRVA as defined by the Vaccine Injury Table and corresponding Qualifications and Aids
to Interpretation. Specifically, petitioner had no pre-vaccination history of pain,
inflammation, or dysfunction of her left shoulder; pain occurred within 48 hours after
receipt of an intramuscular vaccination; pain and reduced range of motion were limited to
the shoulder in which the vaccine was administered; and, no other condition or
abnormality, such as brachial neuritis, has been identified to explain petitioner’s shoulder
pain. Id. at 6. Respondent further agrees that “petitioner suffered the residual effects of
her condition for more than six months.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




                                             2
